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 5    John.P.Burns@usdoj.gov
 6    Attorneys for the United States of America
 7
                         UNITED STATES DISTRICT COURT
 8                            DISTRICT OF NEVADA
 9                                   -oOo-
10     UNITED STATES OF AMERICA,
                                                          Case No.: 2:16-CR-00083-JCM-NJK
11                            Plaintiff,
                                                          GOVERNMENT’S RULE 48 MOTION TO
12                 vs.                                    DISMISS THE INDICTMENT AS TO
                                                          DEFENDANT REGINALD LOWE
13     REGINALD ANTHONY LOWE,

14            a/k/a “Red”
              a/k/a “Reggie Lowe,”
15
                              Defendant.
16
             The United State of America, by and through STEVEN W. MYHRE, Acting United States
17
      Attorney, and PATRICK BURNS, Assistant United States Attorney, hereby respectfully submits this
18
      Government’s Rule 48 Motion to Dismiss the Indictment as to Defendant Reginald Lowe.
19
                                  Memorandum of Points and Authorities
20
                A. Legal Standard for Government’s Voluntary Dismissal of an Indictment Prior to
21                 Trial

22           Rule 48(a) of the Federal Rules of Criminal Procedure, governing “Dismissal, (a) By the

23    Government,” provides that, “The government may, with leave of court, dismiss an indictment,

24    information, or complaint. The government may not dismiss the prosecution during trial without the


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 1    defendant’s consent.”
 2              B. Good Cause and the Interests of Justice Support Dismissing the Indictment as to
                   Defendant Reginald Lowe
 3
             Good cause exists for granting the Government leave to dismiss the Indictment as to Defendant
 4
      Reginald Lowe. Defendant Lowe is now deceased as confirmed by the attached redacted version of
 5
      his death certificate. See Exhibit 1, Certificate of Death, Reginald Anthony Lowe, March 6, 2017.
 6
      Should the Court grant this motion, the hearing currently scheduled for March 27, 2017 at 10:00 AM
 7
      could be vacated.
 8
                                               I.        Conclusion
 9
             WHEREFORE, after consideration of the included facts, points, authorities, exhibits, and
10
      arguments, the United States respectfully requests that this Court dismiss the indictment as to
11
      Defendant Reginald Lowe only, and vacate the hearing currently set for March 27, 2017 at 10:00 AM.
12

13
             DATED this 17 day of March, 2017.
14
                                                    Respectfully submitted,
15
                                                    STEVEN W. MYHRE
16                                                  Acting United States Attorney
17                                                          //s//
18                                                  PATRICK BURNS
                                                    Assistant United States Attorneys
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 1
                                  UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
                                              -oOo-
 3
       UNITED STATES OF AMERICA,
 4                      Plaintiff,                        Case No.: 2:16-CR-00083-JCM-NJK
                vs.
 5                                                        ORDER DISMISSING THE INDICTMENT
       REGINALD ANTHONY LOWE,                             AS TO DEFENDANT REGINALD LOWE
 6
              a/k/a “Red”
 7            a/k/a “Reggie Lowe,”
 8                            Defendant.
 9
             Under Federal Rules of Criminal Procedure Rule 48(a), and by leave of Court endorsed hereon,
10
      the Acting United States Attorney for the District of Nevada hereby dismisses, as to Defendant
11
      Reginald Lowe only, the Criminal Indictment filed on March 25, 2016. Leave of Court is granted for
12
      the filing of the foregoing dismissal and the case is dismissed as to Defendant Reginald Lowe. The
13
      hearing previously scheduled for March 27, 2017 at 10:00 AM is hereby vacated.
14

15
                                                                 March
                                                          DATED this ____20,
                                                                          day2017.
                                                                              of March, 2017.
16

17

18                                                        _______________________________
                                                          JUDGE JAMES C. MAHAN
19                                                        United States District Judge
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